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HUESTON HENNIGAN up

January 31, 2022

Judge William Alsup
San Francisco Courthouse, Courtroom 12 — 19th Floor REDACTED VERSION OF

450 Golden Gate Avenue,
San Francisco, CA 94102 DOCUMENT SOUGHT TO BE SEALED

Dear Judge Alsup:

Amazon requests leave to move this Court for sanctions against Plaintiff MasterObjects.

          

asterObjects thus has unclean hands, for which dismissal is an appropriate sanction. Aptix Corp v.
Quickturn Design Sys., 269 F.3d 1369 (Fed. Cir. 2001) (affirming this Court’s imposition of terminating
sanctions based on unclean hands). The proposed motion is based both on the Court’s inherent powers and
on Fed. R. Civ. P. 37.

Amazon has also filed, today, a précis regarding MasterObjects’ misconduct during the litigation. At the
Court’s direction, Amazon can address both issues in a single, comprehensive motion. In such a case,
Amazon would request an additional 10 pages for its opening brief, and an additional 5 pages for its reply.

I. Background

MasterObjects previously sued Amazon in March 2011, accusing Amazon’s autocomplete system of infringing
U.S. Patent No. 7,752,326 (“the ‘326 Patent”), a close relative of the patents-in-suit. See MasterObjects v.
Amazon, Case No. 3:11-CV-01055, Dkt. No. 1 (N.D. Cal, March 7, 2011). In mid-June 2011, Amazon
explained to counsel for MasterObjects that it did not infringe the "326 Patent. Counsel for MasterObjects
requested proof of Amazon’s non-infringement, and Amazon agreed to provide such proof to MasterObjects’
attorneys (Hosie Rice), in the form of Amazon’s sensitive technical information. The exchange of information
was governed by this district's then-operative Model Protective Order, and predicated on an explicit
agreement that the discussions “are confidential and protected as confidential, not be used in prosecution,
protected under 408, and will only be used for settlement conversations.”, AMZNMO_00057020 (July 14,
2011 email chain between counsel for MasterObjects and Amazon).

On July 19, 2011, counsel for Amazon held a meeting with Hosie Rice, during which Hosie Rice was permitted
to inspect Amazon’s confidential documents and information. As counsel for MasterObjects has described
these events to the Court: “[A senior Amazon] lawyer called the undersigned and said Amazon did not infringe.
MasterObjects’ counsel said prove it, and Amazon did ....” Dkt. No. 147 at 7, n.3. MasterObjects determined,
based on Amazon's confidential information, that Amazon did not infringe the ’326 Patent, and dismissed the
case two weeks later, in August 2011. See MasterObjects v. Amazon, Case No. 3:11-CV-01055, Dkt. No. 30
(N.D. Cal, August 2, 2011). In MasterObjects’ words, Amazon did not infringe the ‘326 Patent because
“Amazon’s backend then did not have multiple server-side caches as the early MasterObjects patent claimed.”
Dkt. No. 147 at 7, n.3.

The patents in this case are U.S. Patent No. 9,760,628, U.S. Patent No. 10,394,866, and U.S. Patent No.
10,311,073. They were filed on September 16, 2013, December 22, 2016, and February 17, 2017,
respectively. While each claims caching, like the 326 Patent did, each avoids language similar to the claim
language in the ’326 Patent that explicitly required a second server-side source of information. MasterObjects
has taken the position that the claims of the patents currently at issue—unlike the claims of the ‘326 Patent—
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do not require a second server-side source of information. Dkt. No. 236 at 24-26. (Amazon disagrees, as it
will explain in its forthcoming claim construction brief.) The final patent in this series issued on August 27,
2019. This lawsuit was filed less than a year later.

Il. MasterObjects’ Misuse of Confidential Information

It is now clear that the marked difference between the claims of the 326 Patent and the claims of the patents-
in-suit was no accident.

  
 
 
    

 

mazon doés not infringe the new claims any more than It di asterObjects’
intent was to change the scope of its patents to cover Amazon’s technology.

This fact became clear to Amazon on December 22, 2021, during the deposition of Mark Smit, the CEO of
MasterObjects and first-named inventor of each patent-in-suit. During that deposition, Mr. Smit confessed to:

 

 

confirmed Mr. Smits admissions. On January 95, asterObjects belatedly provided a privilege log that
showed extensive discussions regarding Amazon in 2011 among Mr. Smit, MasterObjects’ litigation counsel,
and MasterObjects’ prosecution counsel. Finally, on January 7, 2022, MasterObjects’ patent prosecution
attorney testified that Mr. Smit was highly involved in drafting the claims of the patents-in-suit.

The behavior described in the testimony and the privilege logs violates the provisions of the Model Protective
licable to the 2011 lawsuit, which require that

     
 

also violates
jects made to obtain access to Amazon's confidential information in 2011. Amazon will lay out this
information fully at the appropriate time, but a summary of the evidence follows:

 

First, MasterObjects CEO and inventor Mr. Smit stated that

Second, Mr. Smit confirmed that

 

Third, the recently-served privilege logs confirm Mr. Smit’s testimony. For example, the privilege logs show
that on June 15 and 16, 2011, very close in time to when Amazon outlined its noninfringement positions to
litigation counsel for MasterObjects, there were a series of communications regarding Amazon between the
same MasterObjects litigation attorney and Mr. Smit. On June 17, 2011, these communications were
expanded to include MasterObjects’ lead patent prosecutor. And starting July 19, 2011, when MasterObjects’
litigation counsel inspected Amazon’s confidential documents, there are dozens of log entries regarding
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Amazon that were sent among litigation counsel, Mr. Smit, and prosecution counsel.

Fourth, this behavior appears to be part of a pattern. As Amazon explained to the Special Master on
November 8, the very limited privilege log that MasterObjects had produced as of that date seemed to show
MasterObjects’ litigation counsel: (1) receiving HCAEO information from the defendants in other
MasterObjects lawsuits; and then (2) participating in communications with patent prosecution counsel. Dkt.
No. 168. While the Special Master did not find issues with the documents he reviewed at that time, he did
order MasterObjects to provide a more complete privilege log. Dkt. 190 at 4-5. As stated above, that later-
produced privilege log, coupled with Mr. Smit’s recently-provided testimony, prompts this précis request.

Ill. Basis for Sanctions

Federal courts have inherent power to impose sanctions for “willful disobedience of a court order ... or when
the losing party has acted in bad faith, vexatiously, wantonly, or for oppressive reasons....” Roadway Express
v. Piper, 447 U.S. 752, 766 (1980). Moreover, when a party approaches the court with unclean hands,
terminating sanctions may be appropriate. Aptix Corp v. Quickturn Design Sys., 269 F.3d 1369 (Fed. Cir.
2001) (affirming this Court’s imposition of terminating sanctions based on unclean hands).
MasterObjects has unclean hands because

     
 
 
   

Itigation business misconduct” by using confidential
information from the defendant to influence the drafting of the patents-in-suit. 888 F.3d 1231, 1240-41 (Fed.
Cir. 2018). That misconduct was found to render the patents unenforceable against Gilead because of
Merck’s unclean hands. /d. at 1233. The same result is appropriate here.

Sanctions are also available under FRCP 37(b) and this Court’s inherent power because of MasterObjects’
violation of the Northern District of California Protective Order. The misconduct outlined above violates at
least one, and possibly three, provisions of the Protective Order applicable to the 2011 lawsuit. See April 12,
2011 Patent Local Rule 2-2 Interim Model Protective Order.

    
  

 

€ parties agreement that the sensitive Amazon technical information was “not be use
this information under the prosecution bar provision of the Model Protective Order, id. J 8

      

violations are also subject to sanctions. Eagle Comtronics v. .3d 1303 (Fed. Cir.
2002) (misuse of confidential information in violation of a protective order was contempt of court and
sanctionable); see also Chambers v. NASCO, 501 U.S. 32, 44 (1991) (“The power to punish for contempt is
inherent in all courts. This power reaches both conduct before the court and that beyond the court’s
confines.”) (cleaned up).

IV. Conclusion

MasterObjects admits to

mazon accordingly requests leave to file a motion seeking terminating sanctions.

 

Sincerely,
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Moez M. Kaba
